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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED DRYWALL             )                    MDL NO. 2047
 PRODUCTS LIABILITY LITIGATION                  )
                                                )                   SECTION: L
                                                )
                                                )                   JUDGE FALLON
                                                )                   MAG. JUDGE WILKINSON
________________________________________________)

THIS DOCUMENT RELATES TO ALL CASES

                                   NOTICE OF HEARING

       Please take notice that, upon the pleadings and other matters of record, the undersigned will

move the Court before the Honorable Judge Eldon E. Fallon, United States District Court for the

Eastern District of Louisiana, Room C456, United States Courthouse, 500 Poydras Street, New

Orleans, Louisiana, 70130, on May 11, 2011, at 9:00 o’clock a.m., or as soon thereafter as counsel

can be heard, for an order on the Plaintiffs’ Steering Committee’s Motion to Compel Production of

Documents & Further Jurisdictional Depositions of the Taishan Defendants & for Sanctions and




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further relief as the Court may deem just and appropriate.

                                             Respectfully submitted,

Dated: May 3, 2011
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                                                         CERTIFICATE OF SERVICE

            I hereby certify that the above and foregoing pleading has been served on Defendants’
   Liaison Counsel, Kerry Miller, by U.S. Mail and e-mail or by hand delivery and e-mail and upon
   all parties by electronically uploading the same to LexisNexis File & Serve in accordance with
   Pre-Trial Order No. 6, and that the foregoing was electronically filed with the Clerk of Court of
   the United States District Court for the Eastern District of Louisiana by using the CM/ECF
   System, which will send a notice of electronic filing in accordance with the procedures established
   in MDL 2047, on this 3rd day of May, 2011

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